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                                   UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF NEW YORK

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MATTHEW KEIL, JOHN DE LUCA, SASHA                                   :
DELGADO, DENNIS STRK and SARAH BUZAGLO,                             :
                                                                    :   Case No. 1:21-cv-08773
                                              Plaintiffs,           :
                                                                    :
                  - against -                                       :
                                                                    :
THE CITY OF NEW YORK; BOARD OF                                      :   NOTICE OF INTERLOCUTORY
EDUCATION OF THE CITY SCHOOL DISTRICT OF                            :   APPEAL
NEW YORK; DAVID CHOKSHI, IN HIS OFFICIAL                            :
CAPACITY OF HEALTH COMMISSIONER OF THE                              :
CITY OF NEW YORK; and MEISHA PORTER, IN                             :
HER OFFICIAL CAPACITY AS CHANCELLOR OF                              :
THE NEW YORK CITY DEPARTMENT OF                                     :
EDUCATION,                                                          :
                                                                    :
                                               Defendants.          :
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Notice is hereby given that Plaintiffs Matthew Keil, John De Luca, Sasha Delgado, Dennis Strk and

Sarah Buzaglo hereby appeal to the United States Court of Appeals for the Second Circuit from the

Order entered on October 28, 2021, denying Plaintiffs’ application for a Temporary Restraining Order

and a Preliminary Injunction. This appeal is taken from each and every part of the October 28, 2021

Order.

Dated: New York, New York
       October 28, 2021

                                                       NELSON MADDEN BLACK LLP
                                                       Attorneys for Plaintiffs

                                                       ______________________________________
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